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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

LEAGUE OF UNITED LATIN                                §
AMERICAN CITIZENS, et al.,                            §
                                                      §
                  Plaintiffs,                         §
                                                      §
EDDIE BERNICE JOHNSON, et al.,                        §    EP-21-CV-00259-DCG-JES-JVB
                                                                   [Lead Case]
                                                      §
                  Plaintiff-Intervenors,              §
                                                                           &
v.                                                    §
                                                      §         All Consolidated Cases
GREG ABBOTT, in his official capacity as              §
Governor of the State of Texas, et al.,               §
                                                      §
                  Defendants.                         §

                        MEMORANDUM OPINION AND ORDER
                 DENYING DEFENDANTS’ MOTION TO DISMISS AS MOOT

       Defendants have moved to:

       (1)        dismiss some of Plaintiffs’ claims as moot; and/or

       (2)        grant Defendants a favorable judgment on the pleadings on several claims.1

For the following reasons, we DENY Defendants’ Motion as MOOT.

                                           I.   DISCUSSION

A.     The Court Denies Defendants’ Motion to Dismiss Several Claims as Moot

       We first DENY the Motion as MOOT to the extent it seeks to dismiss several Plaintiff

Groups’ challenges to Texas’s House and Senate Districts.2



       1
           See generally Defs.’ Mot., ECF No. 848.
       2
           See id. at 4–5.

       All page citations in this Memorandum Opinion and Order refer to the page numbers assigned by
the Court’s CM/ECF system—not the cited document’s internal pagination.


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        As background, the 87th Texas Legislature originally enacted the redistricting maps at

issue in this case in 2021.3 The 88th Legislature then passed additional redistricting legislation

in 2023.4 Critically, though, the 2023 legislation didn’t change the boundaries of any of the

maps that the Legislature enacted in 2021; in fact, the 2023 legislation explicitly “ratified and

adopted” the 2021 House and Senate maps in their existing form.5 The 88th Legislature passed

the 2023 legislation solely to comply with a procedural requirement of the Texas Constitution.6

        At the time Defendants filed their Motion on February 15, 2025,7 the LULAC Plaintiffs,

MALC Plaintiffs, Brooks Plaintiffs, and the Texas NAACP—whom we’ll call the “Four Plaintiff


        3
            See generally H.B. 1, 87th Leg. (Tex. 2021); S.B. 4, 87th Leg. (Tex. 2021).

         See also Abbott v. Mexican Am. Legis. Caucus, 647 S.W.3d 681, 687 (Tex. 2022) (“During [the
87th Legislature’s] special (third called) session, the Legislature passed H.B. 1 and S.B. 4, the two bills
that reapportioned the districts for the Texas House and Senate, respectively.”).
        4
            See H.B. 1000, 88th Leg. § 1 (Tex. 2023); S.B. 375, 88th Leg. § 1 (Tex. 2023).
        5
          See H.B. 1000, 88th Leg. § 2 (Tex. 2023) (“The districts used to elect members of the Texas
House of Representatives in 2022, established by Chapter 1 (H.B. 1), Acts of the 87th Legislature, 3rd
Called Session, 2021 (PLANH2316 in the Texas Legislature’s redistricting system), are hereby ratified
and adopted as the districts used to elect members of the Texas House of Representatives.” (emphases
added)); S.B. 375, 88th Leg. § 2 (Tex. 2023) (“The districts used to elect members of the Texas Senate in
2022, established by Chapter 5 (S.B. 4), Acts of the 87th Legislature, 3rd Called Session, 2021
(PLANS2168 in the Texas Legislature’s redistricting system), are hereby ratified and adopted as the
permanent districts used to elect members of the Texas Senate.” (emphases added)).
        6
            See TEX. CONST. art. III, § 28 (“The Legislature shall, at its first regular session after the
publication of each United States decennial census, apportion the state into senatorial and representative
districts . . . .” (emphasis added)).

         See also, e.g., Abbott, 647 S.W.3d at 687 (explaining that the 87th Legislature couldn’t pass
legislation establishing the boundaries of Texas’s House and Senate Districts during its regular legislative
session in early 2021 because the COVID-19 pandemic delayed the release of the decennial census until
after the session was already over).

         See also H.B. 1000, 88th Leg. § 1 (Tex. 2023) (“The purpose of this Act is to ensure that the
legislature has fulfilled its duty to apportion the state into representative districts at its first regular session
after the publication of the Twenty-fourth Decennial Census of the United States, as provided by Section
28, Article III, Texas Constitution.” (emphasis added)); S.B. 375, 88th Leg. § 1 (Tex. 2023) (similar).
        7
            See Defs.’ Mot. at 8.


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Groups” for the purposes of this opinion—hadn’t yet amended their pleadings to reflect the

Legislature’s 2023 ratification and adoption of the 2021 House and Senate maps.8 Defendants

therefore argued the Four Plaintiff Groups’ Texas House and Senate challenges were moot

because their pleadings were attacking “obsolete redistricting statutes” that the Legislature had

since superseded.9

        The intervening legislation likely did not moot the challenges pleaded in the complaints

that existed on February 15, 2025. Even when “a challenged [law] is replaced with a new [law],”

that supersedure “will not moot the case if the government repeals the challenged action and

replaces it with something substantially similar.”10 The 2023 legislation wasn’t just

“substantially similar” to the 2021 legislation; it was effectively identical. Again, the 2023 law

explicitly “ratified and adopted” the 2021 Texas House and Senate maps without any change.

Thus, both before and after the 2023 legislation, the Four Plaintiff Groups were challenging the




        8
          See id. at 5 (“LULAC Plaintiffs, MALC Plaintiffs, NAACP Plaintiffs, and Brooks Plaintiffs
have all brought claims against the State’s 2021 House and Senate districts.” (emphasis added)); id. at 4
(“Only the Bacy and Fair Maps Plaintiffs have amended [their pleadings] to redirect their state House and
Senate claims against the State’s current redistricting legislation.”).

       See also MALC’s 2d Am. Compl., ECF No. 319 (filed June 6, 2022); Brooks Pls.’ 3d Am.
Compl., ECF No. 612 (filed October 13, 2022); Tex. NAACP’s 2d Am. Compl., ECF No. 646 (filed
November 18, 2022).

        Technically, the LULAC Plaintiffs amended their pleadings on July 5, 2023—after the 88th
Legislature had passed the 2023 legislation, but before the 2023 legislation became effective. Compare
LULAC Pls.’ 4th Am. Compl., ECF No. 714, at 193, with H.B. 1000, 88th Leg. § 4 (Tex. 2023), and S.B.
375, 88th Leg. § 5 (Tex. 2023). The LULAC Plaintiffs’ July 5, 2023 pleading didn’t explicitly mention
the 2023 legislation, however. See, e.g., LULAC Pls.’ 4th Am. Compl. at 4–5 (referring to “redistricting
plans” that “the 87th Texas Legislature approved” (emphasis added)); id. at 5 (alleging that “[a]ll four
statewide redistricting plans enacted in 2021 discriminate . . . against Latino voters” (emphasis added)).
        9
            See Defs.’ Mot. at 4–5.
        10
             Franciscan All., Inc. v. Becerra, 47 F.4th 368, 374 (5th Cir. 2022) (cleaned up).


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exact same maps on the exact same grounds. It was therefore every bit as possible to grant the

Four Plaintiff Groups some form of “effectual relief” after 2023 as before.11

        We needn’t reach a definitive conclusion on that issue, however. After Defendants filed

their Motion on February 15, 2025, we granted all Four Plaintiff Groups leave to amend their

pleadings.12 All four of their operative complaints now explicitly state that they’re challenging

the 2021 maps as subsequently ratified and adopted by the 2023 legislation.13 Defendants thus

no longer have any basis to argue that any of the Four Plaintiff Groups’ operative pleadings are

aimed at “obsolete redistricting statutes” that are now “defunct.”14 So it’s not the Four Plaintiff

Groups’ claims that are moot—it’s Defendants’ Motion.




        11
          See, e.g., Chafin v. Chafin, 568 U.S. 165, 172 (2013) (“[A] case becomes moot only when it is
impossible for a court to grant any effectual relief whatever to the prevailing party. As long as the parties
have a concrete interest, however small, in the outcome of the litigation, the case is not moot.” (cleaned
up)).
        12
          See Order Granting Brooks Pls.’ Mot. Leave Amend & Dismissing Coalition Claims Sua
Sponte, ECF No. 875, at 1 (March 12, 2025 order permitting the Brooks Plaintiffs to amend their
pleadings); Order Granting MALC Pls.’ Mot. Leave Amend, ECF No. 891, at 2 (March 24, 2025 order
permitting the MALC Plaintiffs’ to amend their pleadings); Order Ruling on Tex. NAACP’s Mots., ECF
No. 896, at 1 (March 26, 2025 order permitting Texas NAACP to amend its pleadings); Order Ruling on
LULAC Pls.’ Mots., ECF No. 898, at 2–3 (March 26, 2025 order permitting the LULAC Plaintiffs to
amend their pleadings).
        13
            See Brooks Pls.’ 4th Am. Compl., ECF No. 876, at 32 (“[The Brooks] Plaintiffs’ complaint
challenges [the Texas House and Senate plans] as adopted in 2021 and ratified as a continuation of the
districts set forth therein by the 2023 legislature.” (emphasis added)); MALC Pls.’ 3d Am. Compl., ECF
No. 892, at 53 (similar); Tex. NAACP’s 3d Am. Compl., ECF No. 897, at 64–68 (recounting the 2023
legislation’s enactment and alleging that “[t]he ratification of [the Texas Senate and House plans] in 2023
[did] not remove the discriminatory taint in” the 2021 maps); LULAC Pls.’ 5th Am. Compl., ECF No.
899, at 93–94 (recounting “[t]he Legislature’s 2023 ratification of the State House and Senate plans”
passed in 2021, and alleging that 2023 ratification “carried forward the legislative intent of the 2021
Texas Legislature in creating and enacting those redistricting plans”).
        14
             Contra Defs.’ Mot., ECF No. 848, at 4–5.


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B.      The Court Denies the Motion to the Extent it Seeks a Favorable Judgment on the
        Pleadings on the Four Plaintiff Groups’ Intentional Discrimination Claims

        In the alternative to an order dismissing the Four Plaintiff Groups’ Texas House and

Senate challenges for lack of subject-matter jurisdiction, Defendants seek a favorable judgment

on the pleadings on the Four Plaintiff Groups’ intentional discrimination challenges to Texas’s

House and Senate districts.15 According to Defendants, any Plaintiff Groups who “declined to

amend or supplement” their pleadings after the 2023 legislation’s enactment have necessarily

“failed to allege discriminatory intent on the part of the 88th Legislature,” because those pre-

2023 pleadings could only contain allegations about the 87th legislature’s intent when enacting

the 2021 legislation.16

        Again, though, all Four Plaintiff Groups amended their complaints to address the 2023

legislation after Defendants filed their Motion. Thus, there are no longer any “Plaintiffs that

. . . declined to amend or supplement” their complaints to plead allegations pertaining directly to

the 88th Legislature’s intent.17 To the extent that Defendants’ Motion is based on the contrary

premise, we DENY it as MOOT.




        15
             See id. at 5–6.
        16
           See id. (“Claims brought under the Fifteenth or Fourteenth Amendments alleging intentional
discrimination turn on legislative motivation or intent. . . . The requisite legislative intent cannot be
imputed from one Legislature to another. Accordingly, allegations of racially discriminatory intent
concerning the 87th Legislature cannot be repurposed to claim intentional discrimination against an act of
the 88th Legislature. Plaintiffs that have declined to amend or supplement have therefore failed to allege
discriminatory intent on the part of the 88th Legislature. Because that is a required element of pleading
claims for intentional discrimination under the Fourteenth or Fifteenth Amendment, unamended Plaintiffs
do not meet the pleading standard for such claims. Therefore, the intentional discrimination claims
advanced by [the Four Plaintiff Groups] should be dismissed.” (cleaned up)).
        17
             Contra id. at 5.


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C.      The Court Denies the Motion as Moot to the Extent it Seeks a Judgment on the
        Pleadings on Any Remaining Coalition Claims

        Finally, Defendants seek a partial judgment on the pleadings on any coalition claims18

that remain in Plaintiffs’ operative complaints.19 Defendants asserted in their Motion that at least

five Plaintiff Groups’ operative pleadings still contain coalition claims that no longer pass muster

under Fifth Circuit precedent:

        (1)        the Gonzales Plaintiffs;20

        (2)        the Brooks Plaintiffs;

        (3)        the Texas NAACP;

        (4)        the Fair Maps Plaintiffs; and

        (5)        the Intervenor Plaintiffs.21

        That might have been true when Defendants said it, but it isn’t true now. After

Defendants filed their Motion on February 15, 2025, the Gonzales Plaintiffs amended their




        18
            This Order uses “coalition claim” as shorthand for an effects-based vote-dilution challenge
under § 2 of the Voting Rights Act that seeks to reconfigure a voting district so that a coalition of two or
more racial minority groups—rather than a single racial group alone—would constitute more than 50% of
the district’s eligible voters.

         As we’ve explained in greater depth elsewhere, see League of United Latin Am. Citizens v.
Abbott, --- F. Supp. 3d ----, 2025 WL 630663, at *1 (W.D. Tex. Feb. 21, 2025), coalition claims are no
longer permissible following the Fifth Circuit’s decision in Petteway v. Galveston County, 111 F.4th 596
(5th Cir. 2024) (en banc).
        19
             See Defs.’ Mot. at 1, 2, 5–6.
        20
         Formerly the “Bacy” Plaintiffs. See, e.g., Gonzales Pls.’ Mot. Leave File 4th Am. Compl.,
ECF No. 859, at 3.
        21
             See Defs.’ Mot. at 3–4.


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pleadings to drop their coalition claims.22 The Court also dismissed the coalition claims from the

Brooks Plaintiffs’ and Texas NAACP’s operative pleadings sua sponte.23 The Fair Maps

Plaintiffs voluntarily dismissed all of the claims they had previously asserted in this case.24

Finally, the Intervenor Plaintiffs have clarified that they’re no longer pursuing effects-based

vote-dilution claims in this case at all—let alone effects-based vote-dilution claims based on

impermissible coalition allegations.25 Thus, to the best of the Court’s knowledge, none of the

Plaintiffs in this case is currently asserting any live coalition claims. The Court can’t issue a

judgment in Defendants’ favor on a claim that no Plaintiff is actively pursuing.

                                         II.     CONCLUSION

        The Court therefore DENIES Defendants’ “First Amended Motion for Partial Judgment

on the Pleadings and to Dismiss for Lack of Subject Matter Jurisdiction” (ECF No. 848) as

MOOT.




        22
           See generally Gonzales Pls.’ 4th Am. Compl., ECF No. 863 (docketed March 4, 2025); see also
Gonzales Pls.’ Mot. Leave File 4th Am. Compl. at 2 (“The . . . Fourth Amended Complaint . . . removes
the [Gonzales] Plaintiffs’ coalition-dependent claims and clarifies that their remaining claims seek the
creation of [single-race-majority] districts.”).
        23
           See Order Granting Brooks Pls.’ Mot. Leave Amend & Dismissing Coalition Claims Sua
Sponte at 1–2 (“Some of the claims that the Brooks Plaintiffs raise in their Fourth Amended Complaint
are coalition claims that no longer pass muster under the Fifth Circuit’s en banc ruling in Petteway. The
Brooks Plaintiffs effectively concede as much; they’ve retained those claims in their amended pleading
primarily to preserve them for appellate review. Thus, . . . the Court dismisses the . . . coalition claims
from the Brooks Plaintiffs’ Fourth Amended Complaint sua sponte . . . .” (emphasis omitted)); Order
Ruling on Tex. NAACP’s Mots. at 2 (similar).
        24
             See Stipulation of Dismissal, ECF No. 890; Order Dismissing Fair Maps Pls.’ Claims, ECF No.
894.
        25
          See Resp. Order Requiring Additional Briefing, ECF No. 917, at 1 (“Intervenor Plaintiffs
confirm that they are NOT pursuing effects-based vote-dilution claims under Section 2 of the Voting
Rights Act in their Second Amended Complaint.” (citation omitted)).


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     So ORDERED and SIGNED this 7th day of May 2025.




                                               ____________________________________
                                               DAVID C. GUADERRAMA
                                               SENIOR U.S. DISTRICT JUDGE


                                       And on behalf of:

          Jerry E. Smith                                        Jeffrey V. Brown
    United States Circuit Judge               -and-        United States District Judge
U.S. Court of Appeals, Fifth Circuit                        Southern District of Texas




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